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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF MISSISSIPPI
                                 EASTERN DIVISION

10,052, LLC,                                                                 PETITIONER

vs.                                                   CASE NO. 2:23-MC-0075-KS-MTP

JOHN MARTIN and BEYOND
RECOGNITION, LLC, a Delaware
limited liability company,                                                  DEFENDANTS

                                      CHARGING ORDER

       This matter is before the Court on Petitioner 10,052, LLC (“10,052”)’s Motion for Charger

Order (the “Motion”). In the Motion, 10,052 requested, pursuant to Rule 69 of the Federal Rules

of Civil Procedure and Mississippi Code § 79-29-705, that the Court enter an order charging the

interests of John Martin (“Martin”) in the limited liability companies set forth below (collectively,

the “Entities”) with payment of the unsatisfied amount of 10,052’s judgment against Martin in the

minimum principal amount of $1,098,335 (the “Judgment”). The Entities include the following:

               a.      Redfile AI, LLC; and

               b.      Beyond Recognition, LLC, a Delaware limited liability company.

       10,052 further requested that the Court enter an Order proscribing Martin from assigning

or transferring his interests in the Entities pending the satisfaction of 10,052’s Judgment. Based

upon the Court’s review of the Motion and its consideration of the pleadings and the record, the

Court finds that the Motion is due to be, and is hereby, GRANTED.

       Accordingly, it is ORDERED and DIRECTED as follows:

       1.      Any partnership, membership, or other equitable interest of Martin in any of the

Entities is hereby CHARGED with payment of 10,052’s Judgment against Martin.
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       2.      Martin is hereby PROSCRIBED from assigning or transferring any of his

partnership, membership, or other equitable interests in the Entities pending the satisfaction of

10,052’s Judgment against Martin.

       3.      The Clerk of Court is hereby DIRECTED to serve a copy of this Order on each of

the above listed Entities at the following addresses:

               a.      Redfile AI, LLC
                       89 J. M. Burge Road
                       Hattiesburg, Mississippi 39402

               b.      Beyond Recognition, LLC
                       89 J. M. Burge Road
                       Hattiesburg, Mississippi 39402

       4.      Each of the Entities shall ACKNOWLEDGE receipt of this Order in writing to

Steven L. Nicholas, as Counsel for 10,052, LLC, Cunningham Bounds, LLC, Post Office Box

66705, Mobile, Alabama 36660, including in said acknowledgment any notification that Martin

does not hold any ownership interest in that particular Entity, if applicable.

       5.      Each of the Entities shall pay to 10,052 any and all monetary or non-monetary

distributions, dividends, bonuses, income, monies, or payments or consideration of any kind and

other items that Martin may now or ever become entitled to receive pursuant to his partnership,

membership, or other equitable interests in any of the Entities, until such time as the aforesaid

Judgment shall be paid in full, at which time 10,052 shall be required and ordered to satisfy and

terminate this charging order, as well as terminate and satisfy the Judgment.

       6.      Within 15 days after receipt of a written request from 10,052, each Entity receiving

such request shall provide 10,052 with an accounting of any and all monetary or non-monetary

distributions, dividends, bonuses, income, monies, or payments or consideration of any kind and

other items that Martin may now or ever become entitled to receive pursuant to his or its
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partnership, membership, or other equitable interests in any of the Entities, from the date of the

entry of this Order until such time as the aforesaid Judgment shall be paid in full.

       7.      If any of the aforesaid Entities shall, in violation of this Order, remit any such

monetary or non-monetary distributions, dividends, bonuses, income, monies, or payments of any

kind to Martin, or to anyone else rather than to 10,052 as directed by this Order, or as the Entities

may have previously been directed by order of this Court or another Court of competent

jurisdiction, then such respective Entity shall be LIABLE to 10,052 for payment of such monetary

or non-monetary distributions, dividends, bonuses, income, monies, or payments, and 10,052 shall

be entitled to COLLECT its Judgment, plus interest thereon, directly from any assets of the

respective Entities, and without regard to any partnership, membership, or other equitable interest

of Martin.

       DONE and ORDERED on this the 14th day of September, 2023.



                                              /s/ Keith Starrett__________________
                                              KEITH STARRETT
                                              UNITED STATES DISTRICT JUDGE




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